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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

PERSIAN GULF INC., Individually
and on Behalf of All Others Similarly
Situated,

Plaintiff,
V

BP WEST COAST PRODUCTS LLC,
et al.,

Defendants.

 

RICHARD BARTLETT, et al.,
Individually and on Behalf of All
Others Similarly Situated,

Plaintiffs,

Vv

BP WEST COAST PRODUCTS LLC,
et al.,

Defendants.

 

 

CASE NO. 15-cv-1749-JO-AGS

ORDER GRANTING
DEFENDANTS’ RENEWED
MOTION TO SEAL

Lead Case No. 18-cv-1374-JO-
AGS (consolidated with Case
No. 18-cv-1377-JO-AGS)

Defendants have filed an unopposed renewed motion to seal and redact portions of

the record submitted with Defendants’ motions for summary judgment and the parties’

motions to exclude one another’s experts.

The Court hereby GRANTS the motion

[Dkt. 845 in Persian Gulf, 15-cv-1749, and Dkt. 674 in Bartlett, 18-cv-1374], and seals

 
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the Defendants’ documents and portions of documents specifically identified in
Defendants’ motion, Dkt. 845 in Persian Gulf, 15-cv-1749, and Dkt. 674 in Bartlett, 18-
cv-1374.

IT IS SO ORDERED.

Dated: September 29, 2022 oC
TS Ohta
nited States District Judge

 

 

 
